














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-08-427-CV



AJRO REAL ESTATE INVESTMENTS, LLC
	
APPELLANT



V.



TOWN OF LITTLE ELM
 	APPELLEE

 
	

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FROM PROBATE COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Unopposed Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL: &nbsp;LIVINGSTON, DAUPHINOT, and GARDNER, JJ.



DELIVERED: &nbsp;August 13, 2009

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




